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UNITED STATES COURT OF APPEALS 9 [~—"“yyexmeen
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Plaintiff - Appellee! ENTERED LODGED
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WILLIAM ROGER REAVES

 

 

 

 

 

 

 

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Defendant - Appellant3sy L. p DEPUTYBY DEPUTY

 

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APPEAL FROM the United States District Court for the
Central District of California, Los Angeles .

THIS CAUSE came on to be heard on the Transcript of the
Record from the United States District Court for the
Central District of California, Los Angeles

and was duly submitted.

ON CONSIDERATION WHEREOF, It is now here ordered and
adjudged by this Court, that the judgment of the said -
District Court in this cause be, and hereby is AFFIRMED.

Filed and entered July 18, 1997.

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UNITED STATES OF AMERICA,
Plaintiff-Appellee,

Vv.
WILLIAM ROGER REAVES,

Defendant-Appellant.

 

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No. 96-55794

D.c. Nos. CV-94-04385-TUH
CR-82-00719-TH(RG) -1

MEMORANDUM*

Appeal from the United States District Court
for the Central District of California
Terry J. Hatter, Jr., District Judge, Presiding

Submitted July 14, 1997**

Before: HUG, Chief Judge, KOZINSKI, and LEAVY, Circuit Judges.

William Roger Reaves appeals pro se the district court’s

denial of his 28 U.S.C. § 2255 motion.

Frazer v. United States, 18 F.3d 778,

We review de novo. See

781 (9th Cir. 1994). We

have jurisdiction pursuant to 28 U.S.C. § 2255, and we affirm.

Reaves first contends that the district court violated Fed.

R, Crim. P. 11 by failing to inform him of a term of special

parole. This contention lacks merit.

 

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This disposition is not appropriate for publication and may

not be cited to or by the courts of this circuit except as

provided by 9th Cir. R. 36-3.

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The panel unanimously finds this case suitable for decision

without oral argument. See Fed. R. App. P, 34(a); 9th Cir.

R. 34-4.
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"For a section 2255 movant to successfully challenge a guilty
plea based upon a violation of Rule 11, he must establish that the
violation amounted to a jurisdictional or constitutional error or
that the violation resulted in a complete miscarriage of justice
or in a proceeding inconsistent with the demands of fair
procedure." United States v. Grewal, 825 F.2d 220, 222 (9th Cir,
1987); see also United States v. Jaramillo-Suarez, 857 F.2d 1368,
1370 n.2 (9th Cir. 1988). The movant must also establish that he
was prejudiged in that he was unaware of the consequences of his
guilty plea, and, if properly advised would not have pled guilty.
See United States v. Timmreck, 441 U.S. 780, 784 (1979); Grewal,
825 F.2d at 222.

Here, the transcript of the 1982 plea hearing is not
available. Nevertheless, it is clear from the record that, at the
time he pled guilty, Reaves was aware of the special parole term.
See Timmreck, 441 U.S. at 784. First, the plea agreement, which
Reaves signed, explicitly informed him of the special parole term,
stating "pursuant to the terms of this agreement, your client
faces a maximum punishment of . . .a life-time special parole
term." Next, when sentenced to the special parole term, Reaves
did not object. Because Reaves has not shown that he was
prejudiced by any alleged failure of the district court to advise
him of a special parole term, he is not entitled to relief under
section 2255. See id; Grewal, 825 F.2d at 222.

We also reject Reaves contention that the district court was
required to hold an evidentiary hearing before denying his section

2255 motion. "The district court may deny a section 2255 motion
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without an evidentiary hearing only if the movant’s allegations,
viewed against the record, either do not state a claim for relief
or are so palpably incredible or patently frivolous as to warrant
summary dismissal." See United States v, Burrows, 872 F.2d 915,
917 (9th Cir. 1989) (per curiam). This court has found a claim
incredible where a section 2255 movant waited fourteen months to
inform the court of a "secret" sentencing agreement, did not
object when sentenced inconsistently with the alleged agreement,
and failed.to raise the claim in an earlier Rule 35 motion or two
other correspondences with the district court. See United States
vy, Watts, 841 F.2d 275, 278 (9th Cir. 1987).

Here, Reaves waited eleven years before raising the alleged
Rule 11 violation. In addition, he did not mention the alleged
violation at sentencing, on direct appeal (when a transcript of
the proceedings would presumably have been available), or in his
appeal from the revocation of his probation. See United States v.
Reaves, No. 93-50035, (9th Cir. July 13, 1993) (unpublished
memorandum disposition); United States v. Reaves, No. 92~50434,
(9th Cir. Mar. 1, 1993) (unpublished memorandum disposition).
Under these circumstances, the district court was not required to
hoid an evidentiary hearing before denying Reaves section 2255
motion. See Burrows, 872 F.2d at 917; Watts, 841 F.2d at 278.

Reaves next contends the district court arred by sentencing
him to serve a special parole term concurrently with a term of
imprisonment and a term of probation to be served consecutively
with a special parole term. Reaves has waived this claim. See

United States v. Schlesinger, 49 F.3d 483, 485 (9th Cir. 1994)
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(nmonconstitutional sentencing errors that were not raised on
direct appeal have been waived and generally may not be reviewed
under section 2255}. Moreover, we note that this court has
already upheld the validity of Reaves sentence on two previous
occasions. See Reaves, No. 93~50035; Reaves, No. 92-50434.
Reaves’s contention that his conviction violates the Double
Jeopardy Clause based on the forfeiture of various airplanes,
cars, motorcycles, real estate, and cash, is foreclosed by the
United States Supreme Court's decision in United States v. Ursery,
116 S. Ch. 2135, 2149 (1996) (holding that civil forfeitures do
not constitute "punishment" for purposes of the Double Jeopardy
Clause and reversing United States v, $405,089.23, 33 F.3d 1210
(9th Cir. 1994)).1/ In addition, forfeiture of these items was
not an excessive fine: The government submitted ample evidence
that the seized items either constituted or were derived from
Reaves’s illegal activities, and because they were illegally
obtained, the worth of the property was "proportional" to the
erime. See United States v. Real Property Located in El Dorado
County, 59 F.3d 974, 982 (9th Cir. 1995) (holding that
excessiveness determination requires inquiry into whether property
was "instrumentality" of the crime and whether worth of the
property was "proportional"). Finally, we reject Reaves

contention that a $10,000 fine offends the Excessive Fines Clause.

 

1/ We decline to reach Reaves’s contention that his conviction
violated the Double Jeopardy Clause on numerous grounds not raised
in his section 2255 motion. See United States v. Beierle, 77 F.3d
1199, 1201 (9th Cir. 1996),
Case 2:82-cr-00719-TJH . Document 119 Filed 09/23/97 Page 6of7 Page ID #:6

See Alexander v. United States, 509 U.S. 544, 558 (1993) (noting
that the Eighth Amendment prohibits fines which are "grossly
disproportionate" to the crime committed) .

AFFIRMED.

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96-55794 Reaves v. USA

UNITED STATES OF AMERICA
Plaintiff - Appellee

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Vv.

WILLIAM ROGER REAVES
Defendant - Appellant

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